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 5

 6                                  UNITED STATES DISTRICT COURT

 7                               NORTHERN DISTRICT OF CALIFORNIA

 8     IN RE: ROUNDUP PRODUCTS                                MDL No. 2741
       LIABILITY LITIGATION                                   Case No. 3:16-md-02741-VC
 9
       This document relates to:                              REPLY ISO MOTION TO DISMISS FOR
10                                                            FAILURE TO PROSECUTE OR, IN THE
       Ben Embaan. v. Monsanto Co.                            ALTERNATIVE, FOR AN ORDER TO
11     Cause No. 3:21-CV-01336-VC                             SHOW CAUSE
       (N.D. Cal)
12

13
        MONSANTO COMPANY’S REPLY ISO MOTION TO DISMISS FOR FAILURE TO
14       PROSECUTE OR, IN THE ALTERNATIVE, FOR AN ORDER TO SHOW CAUSE

15
              Defendant (“Monsanto”) files this Reply in Support of Its Motion to Dismiss for failure to
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     prosecute or, in the alternative, for an order to show cause. On November 7, 2023, Monsanto filed a
17
     motion to dismiss for failure to prosecute or, in the alternative, for an order to show cause pursuant to
18
     this Court’s order granting Plaintiff’s Counsel’s motion to withdraw as attorney. (Dkt. Nos. 17476
19
     and 14; 16747 and 12.) Plaintiff’s deadline to file a response to Monsanto’s motion to dismiss was
20
     November 21, 2023. As of November 28, 2023, Plaintiff has still not filed a response to Monsanto’s
21
     motion to dismiss, rendering it unopposed. (Exhibit A).
22
              Thus, Monsanto’s Motion to Dismiss is ripe for ruling by the Court and Monsanto respectfully
23
     requests that this lawsuit be dismissed without prejudice.
24
                                                CONCLUSION
25
              For the foregoing reasons, Monsanto respectfully requests that the Court dismiss the above-
26
     captioned case without prejudice for failure to prosecute or, in the alternative, for an order to show
27
     cause.
28
          DEFENDANT’S REPLY ISO MOTION TO DISMISS FOR FAILURE TO PROSECUTE OR, IN THE
                          ALTERNATIVE, FOR AN ORDER TO SHOW CAUSE
                                 3:16-md-02741-VC & 3:21-CV-01336
        Case 3:16-md-02741-VC Document 17526 Filed 11/28/23 Page 2 of 3




1    DATED: November 28, 2023                 Respectfully submitted,

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         DEFENDANT’S REPLY ISO MOTION TO DISMISS FOR FAILURE TO PROSECUTE OR, IN THE
                         ALTERNATIVE, FOR AN ORDER TO SHOW CAUSE
                                3:16-md-02741-VC & 3:21-CV-01336
         Case 3:16-md-02741-VC Document 17526 Filed 11/28/23 Page 3 of 3




1                                      CERTIFICATE OF SERVICE

2            I, Anthony Martinez, hereby certify that on November 28, 2023, the foregoing document

3    was filed via the Court’s CM/ECF system, which will automatically serve and send email

4    notification of such filing to all registered attorneys of record.

5
                                                         /s/ Anthony Martinez
6                                                        Anthony Martinez
                                                         SHOOK, HARDY & BACON LLP
7
                                                         Attorney for Defendant Monsanto Company
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          DEFENDANT’S REPLY ISO MOTION TO DISMISS FOR FAILURE TO PROSECUTE OR, IN THE
                          ALTERNATIVE, FOR AN ORDER TO SHOW CAUSE
                                 3:16-md-02741-VC & 3:21-CV-01336
